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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

LANCE BROWNING, Individually and on
Behalf of All Others Similarly Situated,                        Civil Action No. 1:18-cv-763

        Plaintiff,                                              Dlott, J.
                                                                Bowman, M.J
     vs.

THE OHIO NATIONAL LIVE
INSURANCE COMPANY et al.,

        Defendants.

                             REPORT AND RECOMMENDATION
        This civil action is now before the Court on Defendants Ohio National Life

Insurance Company (“ONLIC”), Ohio National Life Assurance Company (“ONLAC”), Ohio

National Equities, Inc. (“ONEQ”) (collectively, Ohio National”), and Ohio National

Financial Services, Inc. (“ONFS”)1 motion for judgment on the pleadings (Doc. 15) and

the parties’ responsive memoranda. (Docs. 17, 21).

        I.      Background and Facts

        Plaintiff is one of the many licensed securities representatives of the broker-dealer

LPL Financial LLC (“LPL”) who have sold variable annuities to customers nationwide that

feature a guaranteed minimum income benefit (GMIB) rider, offered by The Ohio National

Life Insurance Company and its subsidiaries Ohio National Life Assurance Corporation

and Ohio National Equities, Inc. (these three collectively referred to herein as, “Ohio




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 The Amended Complaint asserts a single claim for tortious interference against ONFS. Plaintiff did not
address this claim in response to ONFS’s motion for judgment on the pleadings. Accordingly, for good
cause shown and in the absence of any opposition, ONFS’ motion for judgment on the pleadings should
be granted and ONFS dismissed as a party to this case.
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National” or “ON”). (Doc. 11, ¶ 1.) All of these entities operate under the umbrella of Ohio

National Financial Services, Inc. (“ONFS”). Id. at 2.

       Pursuant to the Selling Agreement entered into by Ohio National and LPL (“Selling

Agreement”), LPL and its affiliated securities representatives, including Plaintiff, marketed

and sold the Ohio National GMIB variable annuities (the “Annuities”) to customers, with

all customer premiums from those sales being paid directly to Ohio National. In return for

promoting, selling, and servicing these complex Annuities, LPL and its affiliated securities

representatives received commissions, including “trailing commissions,” that were paid to

LPL and affiliated securities representatives on a regular basis until and unless the

Annuities were surrendered or annuitized. Id. at ¶ 2.

       On September 28, 2018, Ohio National announced that it was terminating the

Selling Agreement with LPL, and numerous other broker-dealers, with regard to the

Annuities. As part of that termination, it also announced that it would no longer pay trailing

commissions stemming from Annuities that were already in existence. Effective

December 12, 2018, Ohio National stopped paying LPL and its affiliated securities

representatives any trailing commissions on the Annuities. Id. at ¶ 3.

       Thereafter, Plaintiff filed the instant action for breach of contract, unjust

enrichment, tortious interference and promissory estoppel, Plaintiff also seeks an

injunction to require Ohio National to live up to its obligations under the Selling Agreement

and cease causing damage and irreparable harm, including the loss of goodwill and the

negative impact to the business relationships and reputation of Plaintiff and the proposed

class. Plaintiff additionally seeks declaratory relief resolving Ohio National’s future

obligations pursuant to the Selling Agreement with LPL. Plaintiff also brings this suit as



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a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of

himself and all members of the following Class:

       All persons who: (1) act as securities representatives of LPL; and (2) have
       solicited the sale of an Ohio National guaranteed minimum income benefit
       Variable Annuity that that has not been surrendered or annuitized.

       Ohio National moves for Judgment on the Pleadings asserting that Plaintiff lacks

standing and/or fails to state a claim upon which relief can be granted.

       II.     Standard of Review

       A district court reviews a Rule 12(c) motion for judgment on the pleadings under

the same standard applicable to a Rule 12(b)(6) motion to dismiss. EEOC v. J.H. Routh

Packing Co., 246 F.3d 850, 851 (6th Cir. 2001). Accordingly, “we construe the complaint

in the light most favorable to the nonmoving party, accept the well-pled factual allegations

as true, and determine whether the moving party is entitled to judgment as a matter of

law.” Commercial Money Ctr., Inc. v. Illinois Union Ins. Co., 508 F.3d 327, 336 (6th Cir.

2007). While such determination rests primarily upon the allegations of the complaint,

“matters of public record, orders, items appearing in the record of the case, and exhibits

attached to the complaint, also may be taken into account.” Amini v. Oberlin Coll., 259

F.3d 493, 502 (6th Cir. 2001) (quoting Nieman v. NLO, Inc., 108 F.3d 1546, 1554 (6th Cir.

1997)) (emphasis omitted). The court “need not accept the plaintiff's legal conclusions or

unwarranted factual inferences as true.” Commercial Money Ctr., 508 F.3d at 336. To

withstand a Rule 12(c) motion for judgment on the pleadings, “a complaint must contain

direct or inferential allegations respecting all the material elements under some viable

legal theory.” Id.




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      The Sixth Circuit has explained the pleading requirements that are necessary to

survive a Rule 12(c) motion as follows:

      In Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167 L.Ed.2d 929
      (2007), the Supreme Court explained that “a plaintiff's obligation to provide the
      ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,
      and a formulaic recitation of the elements of a cause of action will not do.... Factual
      allegations must be enough to raise a right to relief above the speculative level....”
      Id. at 1964–65 (internal citations omitted). In Erickson v. Pardus, ... 127 S. Ct.
      2197, 167 L.Ed.2d 1081 (2007), decided two weeks after Twombly, however, the
      Supreme Court affirmed that “Federal Rule of Civil Procedure 8(a)(2) requires only
      ‘a short and plain statement of the claim showing that the pleader is entitled to
      relief.’ Specific facts are not necessary; the statement need only ‘give the
      defendant fair notice of what the ... claim is and the grounds upon which it rests.’”
      Id. at 2200 (quoting Twombly, 127 S. Ct. at 1964). ... We read the Twombly and
      Erickson decisions in conjunction with one another when reviewing a district court's
      decision to grant a motion to dismiss for failure to state a claim or a motion for
      judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12.

Tucker v. Middleburg–Legacy Place, 539 F.3d 545, 549 – 550 (6th Cir. 2008) (quoting

Sensations, Inc. v. City of Grand Rapids, 526 F.3d at 295–96 (6th Cir. 2008)) (footnote

omitted); see also generally, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

      III.   Analysis

      Defendant Ohio National argues that Plaintiff is not a party to the Selling

Agreement at issue and therefore lacks contractual privity to enforce the agreement.

      A. Selling Agreement

      The Selling Agreement states that the only parties thereto are the Ohio National

Contracting Defendants and LPL. (Doc. 11, Ex. A). The Selling Agreement also

specifically states that all commissions owed by Ohio National are to be paid to LPL—not

to registered representatives:

      Commissions payable in connection with the Contracts shall be paid to BD,
      or its affiliated insurance agency, according to the Commission Schedule(s)
      relating to this Agreement as they may be amended from time to time and
      in effect at the time the Contract Payments are received by ONL. … ONL

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       also reserves the right to adjust the compensation payable on sales of ONL
       products that replace existing ONL contracts and offset future
       compensation payable to BD against any compensation to be returned to
       ONL by BD.

       Id. § 9.

       The Selling Agreement further states that the matter of compensation to be paid

by LPL to representatives like Browning is to be governed by separate agreements

between them:

       Compensation to the BD’s Representatives for Contracts solicited by the
       Representatives and issued by ONL will be governed by an agreement
       between BD and its Representatives and its payment will be the BD’s
       responsibility.

       Id.

       B.     Standing

       It is well established that “[a] person who is neither a party to the contract nor in

privity with the parties, and who is not a third-party beneficiary of the contract, is said to

lack ‘standing’ to enforce the contract’s terms ….” Slorp v. Lerner, Sampson & Rothfuss,

587 Fed. Appx. 249, 254 (6th Cir. 2014). In other words, “a non-party may not assert

contract rights unless it is a third-party beneficiary under the contract or such standing is

conferred by statute.” Akron v. Castle Aviation, Inc., 1993 Ohio App. LEXIS 2993, at *4

(Ohio Ct. App. 9th Dist., June 9, 1993). Thus, “a contract is binding only upon parties to

a contract and those in privity with them.” Resource Title Agency, Inc. v. Morreale Real

Estate Servs., Inc., 314 F. Supp. 2d 763, 770 (N.D. Ohio 2004).

       Here, it is undisputed Browning is not a party to the Selling Agreement at issue.

As a result, Ohio National asserts that Browning lacks standing to seek relief based on or

arising out of the Selling Agreement based on actual party status, or contractual privity.



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Plaintiff however, contends that he has standing because he is an intended third-party

beneficiary.

       To determine if a nonsignatory to a contract may enforce certain promises

contained in the contract as a third-party beneficiary, courts must determine if the

nonparty was an intended beneficiary using the “intent to benefit” test found in Hill v.

Sonitrol of Southwestern Ohio, Inc., 36 Ohio St. 3d 36, 40 (1988). Under that test, “the

mere conferring of some benefit on the supposed beneficiary by the performance of a

particular promise in a contract [is] insufficient; rather, the performance of that promise

must also satisfy a duty owed by the promisee to the beneficiary.” Norfolk & Western Co.

v. U.S., 641 F.2d 1201, 1208 (6th Cir. 1980).

       For a third party to be an intended, as opposed to incidental, beneficiary under a

contract, “there must be evidence that the contract was intended to directly benefit that

third party.” Huff v. FirstEnergy Corp., 130 Ohio St. 3d 196, 200 (2011) (emphasis added).

Stated otherwise, Ohio “courts have noted that for a person to claim intended third party

beneficiary status, the contracting parties must have entered into the contract for the

primary purpose of that person.” Daley v. Fryer, 30 N.E.3d 213, 221 (Ohio Ct. App. 3rd

Dist. 2015). In virtually every case, courts look for evidence of such intention or purpose

within the four corners of the contract: “[T]he parties’ intention to benefit a third party will

be found in the language of the agreement.” Huff, 130 Ohio St. 3d at 200.

       Here, Ohio National contends that the plain and express language of the Selling

Agreement makes clear that the ON Contracting Defendants committed to pay, and were

previously responsible for paying, commissions solely to LPL. Notably, the language of

Section 9 in the agreement demonstrates that the opposite of Plaintiff’s allegation is true:



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All matters of compensation between LPL and its representatives are to be addressed by

separate agreements between them. (Doc. 11, Ex. A).

       Ohio National further contends that there is no intended third-party beneficiary

standing to enforce an entitlement to commissions where a contract between two parties

– such as the Selling Agreement – either does not contain an express term providing for

commissions to be paid to the third party or contemplates that the right of any third party

to receive any commission is to be set forth in a separate agreement. See Swarbick v.

Umpqua Bank, 2010 U.S. Dist. LEXIS 18351 (C.D. Cal., Feb. 26, 2010). See also For

Your Ease Only, Inc. v. Calgon Carbon Corp., 2009 U.S. Dist. LEXIS 93088 (N.D. Ill., Oct.

6, 2009). As such, Ohio National argues that the Selling Agreement makes clear that the

parties expressly intended to limit the obligation(s) of the ON Contracting Defendants to

the payment of commissions to LPL, leaving the issue of payments to representatives as

a subject for separate contracting, if any, between LPL and its representatives. Thus, to

the extent Plaintiff received any benefit under the policy it was only incidental to the policy,

making him an incidental third-party beneficiary and not an intended third-party

beneficiary.

       Here, it is undisputed that Plaintiff is not a party to the Selling Agreement between

Ohio national and LPL. As detailed above, the Selling Agreement provides, inter alia,

that “[c]ompensation to [LPL’s] Representatives for Contracts solicited by the

Representatives and issued by ONL will be governed by an agreement between BD and

its Representatives and its payment will be the BD’s responsibility.” (Doc. 11, Ex. A, 9).

Based on this language, Ohio National argues the agreement forecloses a finding that




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such agreement was entered directly or primarily for the benefit of individual

representatives, like Browning.

       In support of this contention, Ohio National notes that other courts have held that

agent/representatives under similar agreements were found not to be third party

beneficiaries. See Swarbick v. Umpqua Bank, 2010 U.S. Dist. LEXIS 18351 (C.D. Cal.,

Feb. 26, 2010). See also For Your Ease Only, Inc. v. Calgon Carbon Corp., 2009 U.S.

Dist. LEXIS 93088 (N.D. Ill., Oct. 6, 2009. Notably, in Swarbick, the court held that

employees of the bank who were also registered securities representatives and dual

agents of a broker-dealer, Woodbury Financial Services, were not third-party

beneficiaries of a brokerage agreement between Woodbury and the bank under which

Woodbury paid commissions to the bank for securities sales made by the dual agents.

       Similarly, in For Your Ease Only, one company had an agreement with a second

company to pay commissions on the second company’s sales of certain products. The

court held that the first company was not obligated to make commission payments to a

third party based on third-party beneficiary theory, even though it knew the second

company was using a portion of the commissions it received to compensate the third party

for his related services under a separate arrangement. See id. at *9-11. See also

Halstead Prop. LLC v. Gluck, 9 Misc. 3d 1123(A); 862 N.Y.S.2d 808 (Table), 2005 N.Y.

Misc. LEXIS 2405 (N.Y. Sup. Ct., June 30, 2005) (holding a broker was not an intended

third-party beneficiary of a sales contract between the buyer and seller of real estate,

observing that “[w]hile a clause in the sales contract that acknowledges a broker’s

services and states that the seller shall pay the broker’s commission would normally

entitle the broker to sue as a third party beneficiary, the clause in question in this contract



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states that the seller will pay the commission pursuant to a separate agreement.”). See

also Lippert Mktg. Ltd. v. Kingwood Ceramics, Inc., 1998 U.S. Dist. LEXIS 15913, at *66

(N.D. Ill., Oct. 5, 1998) (court held that a contract provision stating that plaintiff Lippert, a

third party, “will manage and service” a particular account on behalf of defendant “does

not vault Lippert into third-[party] beneficiary status”).

       Ohio National further argues that when parties provide in their contract that third

parties may be engaged to perform tasks beneficial to the contracting parties, such

provisions do not endow third parties with enforceable rights under the main contract. See

Subaru Distribs. Corp. v. Subaru of Am., Inc., 425 F.3d 119 (2nd Cir. 2005). See also

Artwear, Inc. v. Hughes, 202 A.D.2d 76, 615 N.Y.S.2d 689 (App. Div. 1994). As such,

Ohio National contends that the Selling Agreement makes clear that Ohio National and

LPL intended such agreement “to benefit only themselves,” despite the fact that the

agreement contemplates, as a matter of common sense, that LPL would appoint and

supervise representatives to assist in selling individual variable annuity products. Thus,

at most, the representatives like Browning are incidental beneficiaries who have no right

of enforcement.

       Plaintiff, however, contends that the plain language of the Selling Agreement

establishes that Plaintiff is an intended third-party beneficiary. In this regard, Plaintiff

notes that Ohio law incorporates Section 302 of the Second Restatement of Contracts

with regard to intended beneficiaries under a contract. See Hill, 36 Ohio St.3d 36 at 40,

(“We adopt the statement of law with respect to intended and incidental beneficiaries

found in Section 302 of the Restatement of the Law 2d, Contracts (1981) 439-440.”).

Plaintiff further argues that he and the proposed class members are third party



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beneficiaries to the Selling Agreement because the intended relationship between Ohio

National and LPL cannot be effectuated without the role of the representatives. The

structure of the Selling Agreement contemplates that Plaintiff and proposed Class

Members would sell and service Ohio National products, and would, in turn, receive

compensation from Ohio National via LPL for that work, as seen by the fact that the

Agreement contains provisions related to the licensing of LPL’s Representatives.

        Here, the agents are an essential part of the relationship between LPL and Ohio

National as contemplated by both parties. Moreover, Section 9 states that Ohio National

is not obligated to make direct payments to Plaintiff and Class Members in the normal

course, but instead the Representatives are to receive such payments from LPL. No one

disputes this. Plaintiff, however, notes that in evaluating intended beneficiary status, there

is no requirement that the parties intend to benefit a third party by direct payment. Vogan

v. Hayes Appraisal Assocs., Inc., 588 N.W.2d 420, 423 (Iowa 1999) (applying Section

302).

        Plaintiff further contends that Ohio National’s reliance on Swarbick and Halstead

is misplaced. Notably, Swarbick contains no discussion, analysis, or ruling whatsoever

on the third-party beneficiary issue.2 Swarbick, 2010 U.S. Dist. LEXIS 18351. Similarly,

Plaintiff notes that the Halstead Court never reached any conclusion regarding the

broker’s third-party beneficiary status. Instead, at issue was a real estate sales contract



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  Swarbick concerned a motion by a defendant‐bank to overturn an arbitration award in favor of plaintiffs who were
dual agents of the defendant-bank and a brokerage firm. The plaintiffs claimed they were entitled to back
commissions that were owed to them by the bank subject to an agreement between the bank and the
brokerage firm. Id. at *3. The arbitrator found that the plaintiffs were not intended beneficiaries of the
contract between the brokerage firm and the bank but ruled in plaintiffs’ favor on their separate breach of
fiduciary duty claim. Id. at *7. In ruling on defendant’s motion to vacate, the court never reviewed the
contract at issue, but instead merely quoted the arbitrator’s finding that the plaintiffs were not intended
beneficiaries. Id. at *8

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that required the seller to pay the broker’s commission subject to a separate agreement

between the broker and seller. The court denied the plaintiff-broker’s motion for summary

judgment because the broker failed to allege the existence of a separate agreement. Id.

at *5.

         Moreover, in a subsequent case citing Halstead, another court expressly noted

that “[t]he fact that the amount of the broker's commission referred to in the lease or sales

contract is defined only to the extent of being the subject of a separate agreement and

that such agreement is oral rather than written does not render the obligor's promise to

pay the commission unenforceable.” Atlantic Property Services LLC v. Gillespie, 2008

N.Y. Misc. LEXIS 7976, *6 (N.Y. Sup. Ct. Mar. 31, 2008) (emphasis added) (citations

omitted). See also Schulte v. Carlson, 2013 Iowa App. LEXIS 212, *9-11 (Ct. App. Feb.

13, 2013) (applying Section 302 of the Restatement of the Law 2d, Contracts; holding

that the owner of a small financial services agency was entitled to commissions as a third-

party beneficiary of a contract between a member of his agency who was an independent

contractor of the agency and a broker-dealer under which the agency operated).

         Plaintiff also asserts that Ohio National’s reliance on For Your Ease Only is

misguided. Notably, in that case there was no evidence that a default judgment debtor

was an intended third-party beneficiary of a sales contract between the judgment creditor

and a third-party company. Id. at *9-11. Unlike the facts of this case as alleged, there was

no evidence that the judgment debtor was in any way necessary to effectuate the intention

of the parties to the contract. Here, the third party is essential to the fulfillment of the

contract.




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       Plaintiff further argues that the cases cited by Ohio National are not relevant to the

instant action. See Subaru Distribs., 425 F.3d at 119; Artwear, 202 A.D.2d at 76, 615

N.Y.S.2d at 689 (while two parties contemplate that one may engage a third party for the

benefit of the contracting parties’ relationship, that does not make that third party an

intended beneficiary). According to Plaintiff, in neither case did the promisor exercise the

contractual control over the third parties that ONL does here – such as requiring the use

of representatives, recognizing their right to commissions, and obligating LPL to assure

that the Representatives are appropriately licensed and trained. And finally, neither case

involves the critical fact, as here, that the contracts could not be effectuated without the

third parties. As previously noted, LPL is required by law to sell the ONL variable annuities

only through the representatives.

       Notably, although not cited by the parties in this case, the Court notes that the

issue of standing raised in this case has been considered and rejected by the Court in

Benison, et al. v. The Ohio National Life Insurance Co., et al., No. 1:18-cv-12314 (D.

Mass. April 3, 2019). Benison involved the same Ohio National standard form selling

agreement, same defendants, and same standing argument that Ohio National presents

here. Namely, Plaintiff Benison, a securities representative, sought to compel arbitration

under its broker-dealer’s (Commonwealth LLC) variable-annuity Selling Agreement with

Ohio National as a third-party beneficiary. Benison, No. 1:18-cv-12314, Doc. 22 at 17–

18. The issue was whether Plaintiff Benison had standing to compel the arbitration.

Commonwealth LLC’s selling agreement with Ohio National was materially the same as

the Selling Agreement at issue in this case, with the exception of the Arbitration clause.

Plaintiff Benison argued, relying on Ohio law in Hill and the Restatement (Second) of



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Contracts, that securities representatives are third-party beneficiaries because the Selling

Agreement shows an intent to benefit representatives and because the commission

payments to Commonwealth LLC were meant to compensate representatives for their

annuity sales. Benison, No. 1:18-cv12314, Doc. 22 at 17–18. Ohio National argued

against this position, relying on the same law that it does in this case. Id. at Doc. 23 at 12

n.8. Ohio National claimed, like it claims now, that its Selling Agreement did not directly

or primarily benefit securities representatives. Id. Ohio National also argued that the fact

that the Selling Agreement required Benison to receive compensation under a separate

agreement meant Benison could not be a third-party beneficiary. Id. Relevant here, the

Court found:

       [E]ven if Benison were unable to compel ONLIC and ONLAC through her
       membership in FINRA and Commonwealth Equity had not already
       compelled Defendants to arbitration in this matter, Benison could compel
       arbitration as a third-party beneficiary of the Selling Agreement and the
       Addendum. As is required to vest rights in a third-party beneficiary, here the
       Selling Agreement “manifest[s] an intent to confer specific legal rights upon
       [the representatives],” Hogan, 914 F.3d at 40 (citation and internal quotation
       marks omitted), by referring to the representatives and their role throughout
       the Selling Agreement. The circumstances of the Selling Agreement also
       indicate that “the promisee intends to give the beneficiary the benefit of the
       promised performance,” Rae v. Air-Speed, Inc., 386 Mass. 187, 194 (1982)
       (quoting Restatement (Second) of Contracts § 302(1) (1981)); see D. 1-1 ¶
       9 (outlining the process for allocating commissions to the representatives
       through Commonwealth Equity in the Selling Agreement).

Benison, 2019 WL 1470131, at *5.

       The Court recognizes that this finding was made in connection with a motion to

compel arbitration and found in a footnote with minimal analysis. However, based on the

analysis above, consideration of Ohio law, and the factual similarities in Benison and the

instant action, the undersigned is persuaded by the finding in Benson. As such, at this

stage in the litigation, the undersigned finds that Plaintiff has stated a claim for relief as

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an intended third-party beneficiary under the Selling Agreement.                              Accordingly, Ohio

National’s motion for judgment on the pleadings is not well-taken in this regard. 3

         C. Noncontractual Claims

         In addition to breach of contract, Plaintiff also asserts claims for promissory

estoppel and unjust enrichment. Ohio National contends that it is entitled to judgment as

matter of law with respect to those claims as well. Such claims may proceed at this time.

Notably, Ohio law holds that that an intended third-party beneficiary has the ability to

assert a claim for promissory estoppel against the promisor in the underlying contract.

Green v. Jackson Nat’l Life Ins. Co., 195 F. App’x 398, 406-07 (6th Cir. 2006).

         With respect to unjust enrichment, the undersigned recognizes that a plaintiff

cannot recover on both a theory of breach of contract and a theory of unjust enrichment.

However, at this stage in the litigation, Plaintiff may proceed with the alternative pleading

of unjust enrichment in addition to his claim for breach of contract. Baumgardner v. Bimbo

Food Bakeries Distribution, 697 F. Supp. 2d 801, 816 (N.D. Ohio 2010) (“Courts allow

alternative pleading of unjust enrichment and breach of contract when faced with

scenarios where one party alleges that the express contract is unenforceable or invalid,

or does not encompass the dispute at issue.”); Kabealo v. J.E. Grote Co., 1994 Ohio App.

LEXIS 3423, 1994 WL 411369 (Ohio App. 10 Dist. Aug. 9, 1994) (plaintiff could assert

both breach of contract and quasi-contractual claims where reasonable minds could

reach different conclusions as to whether an express contract existed between the

parties); Bihn v. Fifth Third Mortg. Co., 980 F. Supp. 2d 892, 904 (S.D. Ohio 2013) (“Said




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 Plaintiff ‘s complaint also includes a claim for declaratory judgment. Because Plaintiff has stated a claim for
breach of contract, Plaintiff’s declaratory judgment claim should also proceed.

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another way, under Ohio law, unjust enrichment claims may be pled in the alternative to

a breach of contract claim when the existence of a contract is in dispute.”).

       D. Consolidation

        “A district court can consolidate related cases under Federal Rule of Civil

Procedure 42(a) sua sponte.” See, e.g., Devlin v. Transp. Commc'ns Int'l Union, 175 F.3d

121, 130 (2d Cir.1999) (citation omitted).

       Federal Rule of Civil Procedure 42(a) affords the trial court the discretion to

consolidate cases involving common questions of law or fact. Cantrell v. GAF Corp., 999

F.2d 1007, 1010–11 (6th Cir.1993); Mitchell v. Dutton, Nos. 87–5574, 87–5616, 87–

5632, 87–5638, and 87–5647, 1989 WL 933, at *2 (6th Cir.Jan.3, 1989). Rule 42(a)

states as follows:

       (a) Consolidation. When actions involving a common question of law or
           fact are pending before the court, it may order a joint hearing or trial of
           any or all the matters in issue in the actions; it may order all the actions
           consolidated; and it may make such orders concerning proceedings
           therein as may tend to avoid unnecessary costs or delay.

Fed.R.Civ.P. 42(a). “The underlying objective [of consolidation] is to administer the

court's business with expedition and economy while providing justice to the parties.”

Advey v. Celotex, Corp., 962 F.2d 1177, 1181 (6th Cir.1992) (internal quotation marks

and citation omitted). In Cantrell, the Sixth Circuit Court of Appeals advised that “the

decision to consolidate is one that must be made thoughtfully .... [c]are must be taken

that consolidation does not result in unavoidable prejudice or unfair advantage.” 999 F.2d

at 1011. If the conservation of judicial resources achieved through consolidation “are

slight, the risk of prejudice to a party must be viewed with even greater scrutiny.” Id.




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          Here, the related cases involve common questions of law and fact. As such, a

    global disposition of the issues presented will best provide justice to the parties involved.

    Accordingly, in the interest of judicial economy and fairness, the undersigned further

    recommends that this matter be consolidated with the related case, Cook v. The Ohio

    National Life Insurance Company et al. Case No. 1:19-cv-00195.4

          IV.    Conclusion

          In light of the foregoing, it is therefore RECOMMENDED that Defendant Ohio

    National’s motion for judgment on the pleadings (Doc. 15) be DENIED. However, it is

    RECOMMENDED ONFS’s motion for judgment on the pleadings be GRANTED and

    Plaintiff’s tortious interference claim be dismissed and ONFS be dismissed as a party in

    this case. (See p. 1, note 1). It is further RECOMMENDED that this matter be

    CONSOLIDATED with the related case, Cook v. The Ohio National Life Insurance

    Company et al., Case No. 1:19-cv-00195.5            As is the practice of this Court, it is

    RECOMMENDED that case numbers 1:18-cv-763 and 1:19-cv-00195 be consolidated

    into case number 1:18-cv-763 since that case was the first filed case.


                                                               s/Stephanie K. Bowman
                                                               Stephanie K. Bowman
                                                               United States Magistrate Judge




4
 If Veritas Independent Partners v. the Ohio National Insurance Company, et al, Case No. 1:18-cv-769
was at the same procedural stage as these two cases, I would recommend that all three be consolidated.
5
 Consistent with this Ruling, a Report and Recommendation that Ohio National’s motion to dismiss be
denied in the Cook case will be filed separately in that case.

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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

LANCE BROWNING, Individually and on
Behalf of All Others Similarly Situated,              Civil Action No. 1:18-cv-763

      Plaintiff,                                      Dlott, J.
                                                      Bowman, M.J
    vs.

THE OHIO NATIONAL LIVE
INSURANCE COMPANY et al.,

      Defendants.


                                        NOTICE

      Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written

objections to this Report & Recommendation (“R&R”) within FOURTEEN (14) DAYS after

being served with a copy thereof. That period may be extended further by the Court on

timely motion by either side for an extension of time. All objections shall specify the

portion(s) of the R&R objected to, and shall be accompanied by a memorandum of law in

support of the objections. A party shall respond to an opponent’s objections within

FOURTEEN DAYS after being served with a copy of those objections. Failure to make

objections in accordance with this procedure may forfeit rights on appeal. See Thomas

v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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